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                                                                          6                           IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10   PAULA BLAIR, ANDREA ROBINSON, and                            No. C 17-02335 WHA
                                                                         11   FALECHIA HARRIS, individually and on
United States District Court




                                                                              behalf of all others similarly situated,
                               For the Northern District of California




                                                                         12                  Plaintiffs,
                                                                         13     v.                                                         ORDER RE CROSS-MOTIONS
                                                                         14                                                                FOR SUMMARY JUDGMENT
                                                                              RENT-A-CENTER, INC., a Delaware
                                                                         15   corporation, RENT-A-CENTER WEST, INC.,
                                                                              a Delaware corporation, and DOES 1–50,
                                                                         16   inclusive,

                                                                         17                  Defendants.
                                                                                                                             /
                                                                         18
                                                                         19                                         INTRODUCTION

                                                                         20           In this action brought under California’s Karnette Rental-Purchase Act, the parties

                                                                         21   cross-move for summary judgment on certain of plaintiffs’ claims. For the reasons herein, the

                                                                         22   parties’ respective motions for summary judgment are GRANTED IN PART AND DENIED IN
                                                                              PART.
                                                                         23
                                                                         24                                            STATEMENT

                                                                         25           Defendants Rent-A-Center, Inc. and Rent-A-Center West, Inc. (collectively “RAC”)

                                                                         26   maintained rent-to-own stores throughout California. These stores rented and sold both new

                                                                         27   and used household merchandise (e.g., appliances, electronics, and furniture) to consumers for

                                                                         28   periodic payments. Customers could either rent the merchandise for a period of time or, if all
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                                                                          1   payments had been made after a specified period, the consumer would own the merchandise
                                                                          2   (Dkt. No. 120-45).
                                                                          3          In calculating the merchandise’s statutory-maximum price, RAC could take into account
                                                                          4   the merchandise’s “actual cost, including actual freight charges,” so it becomes necessary to
                                                                          5   understand how merchandise arrived at RAC’s stores. RAC used three methods to deliver
                                                                          6   merchandise to its approximately 131 California stores during the putative class period. First,
                                                                          7   under the “direct-to-store” model, vendors shipped merchandise directly to an RAC store.
                                                                          8   Those vendors invoiced RAC for both the cost of the merchandise and the associated freight
                                                                          9   expense. Under the direct-to-store model, RAC took title to an item upon delivery to RAC’s
                                                                         10   store. Second, vendors shipped merchandise to RAC’s authorized service center, RAC National
                                                                         11   Produce Service, LLC (“NPS”). NPS — a wholly-owned subsidiary of RAC — stored the
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                                                                         12   merchandise, then transported it to RAC’s stores. Under this model, RAC took title to an item
                                                                         13   when it arrived at an NPS facility. Third, vendors shipped merchandise to a third-party logistics
                                                                         14   provider, NFI Industries (“NFI”). NFI then warehoused the merchandise at one of its five
                                                                         15   distribution centers before transporting the merchandise to an RAC store. Under the NFI
                                                                         16   model, RAC took title to an item when it arrived at an NFI facility.
                                                                         17          To set the rental price for a particular item, RAC’s merchandising team negotiated
                                                                         18   prices with vendors, then provided pricing information to RAC’s pricing team. The pricing
                                                                         19   team input the price of the merchandise — including charges associated with the cost of
                                                                         20   transporting the merchandise to RAC’s stores — into RAC’s system. RAC then used a
                                                                         21   software program to calculate maximum permissible rental pricing terms based on the item’s
                                                                         22   cost. For merchandise shipped direct-to-store, the item’s freight cost was included in the
                                                                         23   vendor’s invoice. For merchandise transported to stores by NFI or NPS, the vendor charged for
                                                                         24   freight to get the item to NFI or NPS’s warehouse, then RAC added a corresponding up-charge
                                                                         25   (i.e., “cost per unit” or CPU) to the item’s cost for its transportation to RAC’s store.
                                                                         26          RAC calculated the corresponding up-charge differently depending on whether the
                                                                         27   merchandise was transported by NFI or by NPS. For each item stored and transported by NPS,
                                                                         28   RAC included a flat up-charge of $23.49, regardless of the item’s size, weight, or distance


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                                                                          1   shipped. For items stored and transported by NFI, RAC allocated an up-charge by dividing
                                                                          2   NFI’s projected annual fees by the number of units RAC anticipated shipping through NFI, then
                                                                          3   adjusting that amount to take into account the item’s weight, volume, and other factors that
                                                                          4   could affect shipping costs (Dkt. Nos. 120-5, 120-6, 120-7, 120-8, 120-9, 120-42).
                                                                          5          Another issue concerns arbitration clauses. RAC customers entered into rental-purchase
                                                                          6   agreements either at RAC stores or over the phone. If a customer ordered a product over the
                                                                          7   phone, the customer signed the rental-purchase agreement upon the item’s delivery. Customers
                                                                          8   chose the term in which payments would be made (weekly, bi-weekly, semi-monthly, or
                                                                          9   monthly) and the number of payments. Once a customer and RAC agreed to the terms of a
                                                                         10   rental, an RAC employee generated a written rental-purchase agreement through RAC’s
                                                                         11   software (Dkt. No. 120-45). The form rental-purchase agreement offered to RAC customers
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                                                                         12   referenced arbitration twice. The first page of the rental-purchase agreement stated, in bold
                                                                         13   type (Dkt. No. 120-46):
                                                                         14
                                                                         15                   ARBITRATION: An Arbitration Agreement comes with and is
                                                                                              incorporated into this rental purchase agreement. You should
                                                                         16                   read the Arbitration Agreement before signing this agreement.
                                                                         17
                                                                                     That same page of the rental-purchase agreement contained the following notice:
                                                                         18
                                                                         19
                                                                                              NOTICE TO LESSEE: Do not sign this Rental-Purchase Agreement
                                                                         20                   before you read it, including the Arbitration Agreement, or if it
                                                                                              contains any blank spaces. You are entitled to an exact copy of the
                                                                         21                   Rental-Purchase Agreement you sign. Keep it to protect your legal
                                                                                              rights.
                                                                         22
                                                                         23          In addition to presenting customers with the rental-purchase agreement, RAC presented
                                                                         24   customers with a separate five-page arbitration agreement. RAC also presented customers with
                                                                         25   various other documents depending on the transaction, such as a “90 Day Same as Cash
                                                                         26   Notice,” “Rental Order Form,” “Delivery Checklist,” or “Early Purchase Option Chart” (Dkt.
                                                                         27   Nos. 120-12, 120-13, 120-15, 120-45).
                                                                         28


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                                                                          1          In March 2017, plaintiff Paula Blair initiated this putative class action in state court.
                                                                          2   RAC removed the action to this district court under the Class Action Fairness Act of 2005 and
                                                                          3   moved to partially compel Blair’s suit to arbitration. While the motion to compel arbitration
                                                                          4   was pending, an amended complaint added plaintiffs Andrea Robinson and Falechia Harris.
                                                                          5   The amended complaint sought relief for violations of (1) California’s Karnette Rental-Purchase
                                                                          6   Act, (2) California’s Consumers Legal Remedies Act, (3) usury, and (4) Section 17200 of the
                                                                          7   California Business and Professions Code. RAC renewed its motion to compel arbitration as to
                                                                          8   Blair, but could not locate signed arbitration agreements for Robinson or Harris, so it did not
                                                                          9   seek to compel arbitration of their claims. Because Blair had opted out of the arbitration
                                                                         10   agreement contained in her 2016 rental-purchase agreement, RAC only sought to compel
                                                                         11   arbitration of Blair’s claims relating to the 2015 agreement (Dkt. Nos. 1, 13, 16, 22, 43, 54).
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                                                                         12          An order dated October 3, 2017, denied most of RAC’s motion to compel arbitration,
                                                                         13   granted RAC’s motion to strike Blair’s class action claims arising out of the 2015 agreement,
                                                                         14   and denied RAC’s motion to stay pending arbitration. An October 25 order amended the
                                                                         15   October 3 order to remove the language striking Blair’s class action claims. RAC appealed
                                                                         16   both orders and that appeal is still pending. Now both sides move for partial summary
                                                                         17   judgment on plaintiffs’ Karnette Act claim (Dkt. Nos. 62, 82–84, 118, 128). This order follows
                                                                         18   full briefing and oral argument.
                                                                         19                                              ANALYSIS
                                                                         20           Summary judgment is proper where the pleadings, discovery, and affidavits show that
                                                                         21   there is “no genuine dispute as to any material fact and the movant is entitled to judgment as a
                                                                         22   matter of law.” FRCP 56(a). Material facts are those which may affect the outcome of the case.
                                                                         23   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Here, the relevant facts are not in
                                                                         24   dispute. The parties’ summary judgment motions instead raise two purely legal questions of
                                                                         25   statutory interpretation, as now discussed.
                                                                         26          1.      “SINGLE DOCUMENT” REQUIREMENT.
                                                                         27          The parties first dispute whether or not RAC violated Section 1812.623(a) of the
                                                                         28   Karnette Act by presenting customers with both a rental-purchase agreement and a separate


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                                                                          1   arbitration agreement. The Karnette Act requires rental-purchase agreements to contain certain
                                                                          2   disclosures and information (such as pricing information and the duration of the rental) and
                                                                          3   requires that pricing terms be grouped together “in a box formed by a heavy line” immediately
                                                                          4   above the consumer’s signature. Cal. Civ. Code § 1812.623(b). Section 1812.623(a) further
                                                                          5   provides (emphasis added):
                                                                          6                   Every rental-purchase agreement shall be contained in a single
                                                                                              document which shall set forth all of the agreements of the lessor and
                                                                          7                   the consumer with respect to the rights and obligations of each party.
                                                                          8          Here, RAC’s rental-purchase agreement incorporated the arbitration agreement by
                                                                          9   reference. Accordingly, RAC’s practice of presenting customers with both a rental-purchase
                                                                         10   agreement and a separate arbitration agreement did not violate Section 1812.623(a). Under
                                                                         11   California law, a document incorporates another document by reference if the following
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                                                                         12   conditions are met. First, “[t]he reference to the incorporated document must be clear and
                                                                         13   unequivocal.” Second, “the terms of the incorporated document must be known or easily
                                                                         14   available to the contracting parties.” Cariaga v. Local No. 1184 Laborers Int’l Union of N.
                                                                         15   Am., 154 F.3d 1072, 1074 (9th Cir. 1998) (citation omitted). Both requirements were met here.
                                                                         16   The rental-purchase agreement clearly and unequivocally incorporated the arbitration
                                                                         17   agreement by stating, in bold type, that the arbitration agreement came with and was
                                                                         18   “incorporated into” the rental-purchase agreement. Moreover, the rental-purchase agreement
                                                                         19   instructed consumers not to sign the rental-purchase agreement before reading it, “including the
                                                                         20   Arbitration Agreement.” RAC’s arbitration agreement was also “easily available,” since RAC
                                                                         21   presented it to customers at the same time as it presented the rental-purchase agreement.
                                                                         22          Importantly, under California law “a contract and a document incorporated by reference
                                                                         23   into the contract are read together as a single document.” Poublon v. C.H. Robinson Co., 846
                                                                         24   F.3d 1251, 1269 (9th Cir. 2017) (citation omitted). Plaintiffs argue, without citation to any
                                                                         25   authority, that the incorporation-by-reference rule is a matter of contract interpretation and
                                                                         26   accordingly cannot be applied to determine compliance with the Karnette Act’s “single
                                                                         27   document” requirement. This order disagrees. “[T]he Legislature is presumed to know about
                                                                         28   existing case law when it enacts or amends a statute.” In re W.B., 55 Cal. 4th 30, 57 (2012), as


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                                                                          1   modified on denial of reh’g (Sept. 26, 2012). The California Legislature also codified the
                                                                          2   incorporation-by-reference rule in Section 1642 of the Civil Code. That section provides that
                                                                          3   “[s]everal contracts relating to the same matters, between the same parties, and made as parts of
                                                                          4   substantially one transaction, are to be taken together.” The incorporation-by-reference rule
                                                                          5   may therefore be applied in determining RAC’s compliance with the Karnette Act.
                                                                          6          Contrary to plaintiffs’ contentions, allowing RAC to incorporate the arbitration
                                                                          7   agreement by reference does not defeat the Karnette Act’s goal of “ensur[ing] that consumers
                                                                          8   are protected from misrepresentations and unfair dealings by ensuring that consumers are
                                                                          9   adequately informed of all relevant terms . . . before they enter into rental-purchase contracts.”
                                                                         10   Cal. Civ. Code § 1812.621. Rather, by incorporating the arbitration agreement by reference,
                                                                         11   RAC more easily brings the consumer’s attention to the existence of the arbitration agreement.
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                                                                         12   If RAC were instead required to include the entirety of their arbitration agreement within the
                                                                         13   same document, reference to arbitration could be buried in the middle of very long contracts.
                                                                         14   (In other cases, the Court has seen such practices.) This would hinder, rather than promote, the
                                                                         15   Karnette Act’s goals.
                                                                         16          Similarly unconvincing is plaintiffs’ argument that presenting customers with a separate
                                                                         17   arbitration agreement may cause customers to feel that they have come too far not to proceed, or
                                                                         18   that customers may sign the arbitration agreement with little attention given to it. The rental-
                                                                         19   purchase agreement’s clear disclosures caution against such conduct by directing the customer
                                                                         20   to read the accompanying arbitration agreement prior to signing the rental-purchase agreement.
                                                                         21   RAC’s motion for summary judgment on this issue is accordingly GRANTED. Plaintiffs’ motion
                                                                         22   for summary judgment on this issue is DENIED.
                                                                         23          2.      “LESSOR’S COST” REQUIREMENT.
                                                                         24          The parties also move for summary judgment on the their respective interpretations of
                                                                         25   the term “lessor’s cost” as defined in the Karnette Act. The maximum price a rent-to-own
                                                                         26   company may charge for a particular item of merchandise is determined by applying a set
                                                                         27   multiplier to the “lessor’s cost.” Cal. Civ. Code § 1812.644(b). Section 1812.622(k), in turn,
                                                                         28   defines the “lessor’s cost” as (emphasis added):


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                                                                          1                   [T]he documented actual cost, including actual freight charges, of the
                                                                                              rental property to the lessor from a wholesaler, distributor, supplier, or
                                                                          2                   manufacturer and net of any discounts, rebates, and incentives.
                                                                          3          In interpreting the definition of “lessor’s cost,” this order “first looks to the language of
                                                                          4   the statute, giving effect to the words’ plain meaning; ‘[i]f the language is unambiguous, the
                                                                          5   plain meaning controls.’” Gonzales v. CarMax Auto Superstores, LLC, 840 F.3d 644, 650 (9th
                                                                          6   Cir. 2016) (quoting Voices of the Wetlands v. State Water Res. Control Bd., 52 Cal. 4th 499,
                                                                          7   519 (2011)). “If the language is clear, courts must generally follow its plain meaning unless a
                                                                          8   literal interpretation would result in absurd consequences the Legislature did not intend. If the
                                                                          9   statutory language permits more than one reasonable interpretation, courts may consider other
                                                                         10   aids, such as the statute’s purpose, legislative history, and public policy.” Coalition of
                                                                         11   Concerned Communities, Inc. v. City of Los Angeles, 34 Cal. 4th 733, 737 (2004).
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                                                                         12          Plaintiffs argue that RAC’s calculation of “lessor’s cost” violated the Karnette Act in
                                                                         13   two ways. First, RAC included in its “lessor’s cost” charges for so-called “intra-company”
                                                                         14   storage and transportation of merchandise, i.e., freight charges RAC incurred after RAC took
                                                                         15   title to the merchandise but prior to the merchandise’s arrival at an RAC store. Second, even
                                                                         16   assuming such freight expenses may be included in RAC’s “lessor’s cost,” plaintiffs argue that
                                                                         17   RAC impermissibly calculated those expenses using estimated, projected, or averaged costs
                                                                         18   rather than an item’s “actual cost.” This order addresses each argument in turn.
                                                                         19          Under plaintiffs’ reading of the Act, Section 1812.622(k) limits “actual freight charges”
                                                                         20   to those incurred in shipping an item “to” the rent-to-own company “from a wholesaler,
                                                                         21   distributor, supplier, or manufacturer.” Moreover, plaintiffs argue, an item is no longer in
                                                                         22   transport “to” the lessor “from” the vendor once the lessor takes legal title to the item. Such a
                                                                         23   construction, however, would lead to absurd results. A rent-to-own company incurs “actual
                                                                         24   freight charges” in transporting merchandise to its stores regardless of where in the supply chain
                                                                         25   it takes legal title. Plaintiffs agree that freight charged by a vendor to transport merchandise
                                                                         26   directly to a lessor’s store may be included within the “lessor’s cost.” Yet under plaintiffs’
                                                                         27   interpretation of the statute, if a lessor pays a manufacturer for merchandise prior to the item’s
                                                                         28   shipment and thereby gains legal title, any freight charges incurred in shipping via a common


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                                                                          1   carrier such as Fed-Ex or UPS could not be included, despite such charges being a clear part of
                                                                          2   the item’s “actual cost.”
                                                                          3           Plaintiffs fail to adequately explain why the California Legislature would have intended
                                                                          4   to include freight in “lessor’s cost” when charged by a manufacturer but not when charged by a
                                                                          5   third party. Nothing in the Karnette Act or its legislative history supports such an arbitrary
                                                                          6   distinction. Although plaintiffs describe NPS and NFI as providing “intra-company storage and
                                                                          7   transportation expenses,” the record doesn’t challenge NFI and NPS as distinct corporate
                                                                          8   entities from RAC. While NPS is a wholly-owned subsidiary of RAC, plaintiffs have made no
                                                                          9   showing that would justify disregarding NPS’s separate corporate form. As a result, for
                                                                         10   purposes of the Karnette Act, NPS (and NFI) must be treated like a third-party common carrier.
                                                                         11           A more reasonable interpretation is that rent-to-own companies may set pricing terms
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                                                                         12   based on the “actual cost” of merchandise, including the actual cost of getting the merchandise
                                                                         13   to the stores where it can be available to consumers. This encompasses freight charged directly
                                                                         14   by a manufacturer or other vendor and freight charged by a delivery service to transport the
                                                                         15   item to the lessor’s store.
                                                                         16           This interpretation comports with the California Legislature’s purpose in enacting
                                                                         17   Section 1812.622(k). In amending the Karnette Act in 2006, the California Legislature
                                                                         18   explained that the revised statute sought to address problems the California Attorney General
                                                                         19   and others had encountered with the Act in practice. The amendments sought to remedy these
                                                                         20   challenges by “creating reasonable bright-line pricing caps” and “bring[ing] certainty” to these
                                                                         21   caps by tying them to the lessor’s cost. This would “help law enforcement by making it easier
                                                                         22   to obtain documentation supporting the cash price and payments disclosed in the [rental-
                                                                         23   purchase agreement]” and avoid a “fact intensive inquiry” in determining an item’s price cap
                                                                         24   (Dkt. No. 120-1). Distinguishing amongst freight costs based on when a lessor gains title to an
                                                                         25   item would create more, not fewer, avenues for manipulation (and litigation).
                                                                         26           This order accordingly holds that a rent-to-own company may include within its
                                                                         27   “lessor’s cost” the “actual freight costs,” if documented, incurred in having merchandise
                                                                         28   shipped to its stores, whether shipped directly by a manufacturer or other vendor, through a


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                                                                          1   logistics provider such as NFI or NPS, or through a third-party common carrier such as FedEx
                                                                          2   or UPS.
                                                                          3             This order now turns to plaintiffs’ second argument that — even assuming freight
                                                                          4   charged by NFI and NPS may be included in RAC’s “lessor’s cost” — RAC impermissibly
                                                                          5   calculated its “lessor’s cost” based on estimated, projected, or averaged costs rather than “actual
                                                                          6   costs.” The Karnette Act is clear on this point. “Lessor’s cost” is a function of “documented
                                                                          7   actual cost, including actual freight charges.” Thus, the Act’s statutory price-caps must be
                                                                          8   calculated using “actual” costs, not budgeted, estimated, or forecasted costs.
                                                                          9             The legislative history of the Karnette Act’s 2006 amendments supports this
                                                                         10   construction of Section 1812.622(k). In a letter dated June 16, 2006, the Consumer Attorneys
                                                                         11   of California wrote a letter to Assembly Member Betty Karnette with concerns regarding the
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                                                                         12   proposed amendments to the Karnette Act. As is relevant here, the letter suggested (Dkt. No.
                                                                         13   128-3):
                                                                         14                     “Lessor’s cost” definition should add language to qualify freight
                                                                                                charges as “actual freight charges” as discovery in some cases
                                                                         15                     suggested a lack of accounting for ‘actual’ freight costs vs. some
                                                                                                approximated or collective value that was not truly representative of
                                                                         16                     the RTOs actual freight costs.
                                                                         17             A short time later, the California Legislature amended the bill to insert “actual” before
                                                                         18   “freight charges” in the definition of “lessor’s cost” (Dkt. No. 128-4 at 20).
                                                                         19             Thus, a rent-to-own company like RAC could contract in advance with a carrier like
                                                                         20   NPS to pay a flat fee for each item delivered to one of its stores via the carrier. Then, for each
                                                                         21   item, the rent-to-own company would incur an actual charge (equal to the flat fee) for each item
                                                                         22   so delivered. The carrier would then provide documentation identifying that delivery (and, for
                                                                         23   convenience, perhaps all other deliveries in a given time period). It should not matter that the
                                                                         24   flat fee would apply to both light items as well as heavy items, for the contract would specify
                                                                         25   that fee as the actual freight charge. Of course, the parties could also contract for a graduated
                                                                         26   fee based on size or weight or class of product but that would be a matter of negotiation. The
                                                                         27   key is that a contract would obligate the rent-to-own company to pay and thus that would
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                                                                          1   become the actual charge. Put differently, if a shipper pays UPS $50 to ship something that
                                                                          2   FedEx would have shipped for $40, the $50 is the actual freight cost.
                                                                          3           Applying this to our record, RAC has a serious problem, for RAC didn’t use
                                                                          4   documented actual freight costs, as laid out above, but instead imposed an up-charge based on
                                                                          5   projected future costs. Specifically, under the NFI/RAC contract, RAC paid NFI fixed annual
                                                                          6   and monthly fees plus variable fees depending on the types of products shipped and the
                                                                          7   frequency of shipments. In arriving at an item’s particular up-charge, RAC started with an
                                                                          8   annual forecast of the amount it would pay NFI under their contract, divided that estimate by
                                                                          9   the number of units it anticipated shipping, then adjusted that average to take into account
                                                                         10   weight, volume, and other factors that could affect shipping costs. RAC revised this allocation
                                                                         11   every few months and, accordingly, the same type of merchandise could have a different up-
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                                                                         12   charge depending on when in the year it was shipped. The record is silent as to whether or not
                                                                         13   RAC ever revised its up-charges where the actual results differed from RAC’s projections.
                                                                         14           With respect to items shipped through NPS, RAC “allocated” the company-wide cost of
                                                                         15   having NPS ship new merchandise to its stores. RAC arrived at this per-item allocation after
                                                                         16   NPS calculated the aggregate expenses incurred by NPS in transporting the goods, such as
                                                                         17   “labor, . . . trucks, leasing fees, insurance, registration, fuel costs, . . . [and] material-handling
                                                                         18   equipment” (Dkt. No. 128-5 at 82:14–17). RAC then paid these company-wide expenses by
                                                                         19   uniformly applying the $23.49 up-charge to each product shipped through NPS.
                                                                         20           Plaintiffs make much of the fact that RAC applied the NPS up-charge uniformly without
                                                                         21   regard to an item’s size, weight, time stored, or distance shipped. But this alone would not
                                                                         22   violate the Karnette Act. As stated, it would be possible for a lessor to incur such a uniform
                                                                         23   cost in transporting products while at the same time having that uniform cost be directly
                                                                         24   attributable to each item shipped. For example, as stated, it would be permissible for RAC to
                                                                         25   negotiate a deal with a common carrier (such as UPS) in which RAC would pay $23.49 per item
                                                                         26   shipped regardless of the actual cost to the common carrier in shipping the item. So long as
                                                                         27   RAC had documentation which allowed the fact-finder to trace the per-item charge to
                                                                         28   merchandise, the manner of payment (such as a year-end invoice) would be irrelevant. In such


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                                                                          1    a case, the actual cost to RAC in obtaining the item would be the flat $23.49 charged by the
                                                                          2    carrier, regardless of whether the item was a gift card or an air conditioner.
                                                                          3             RAC would violate the Act, by contrast, by negotiating a deal with a common carrier
                                                                          4    where RAC paid a flat annual or monthly fee for the common carrier’s shipments, then RAC
                                                                          5    evenly allocated that annual or monthly sum amongst all products shipped. In such a case, the
                                                                          6    charge by the common carrier would not be tied directly to an individual item.
                                                                          7             In sum, RAC’s practices with respect to NFI and NPS did not amount to an allocation of
                                                                          8    documented actual freight costs. Rather, the amount RAC used to calculate an item’s “lessor’s
                                                                          9    cost” was either an average of the company’s nationwide logistics expenses (NPS), or an
                                                                         10    allocation of a future projection of expenses (NFI). Such practices may be “normal and
                                                                         11    consistent with industry standards,” as RAC argues, but that does not mean they are compliant
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                                                                         12    with the Karnette Act. Plaintiffs’ motion for summary judgment on this issue is accordingly
                                                                         13    GRANTED. RAC’s motion for summary judgment is DENIED.1
                                                                         14                                                    CONCLUSION
                                                                         15             For the reasons stated, the parties’ respective motions for summary judgment are
                                                                         16    GRANTED IN PART AND DENIED IN PART.
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                                                                         18             IT IS SO ORDERED.
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                                                                         21    Dated: November 1, 2018.
                                                                                                                                              WILLIAM ALSUP
                                                                         22                                                                   UNITED STATES DISTRICT JUDGE
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                                                                         28              Following the hearing on the parties’ motions, RAC filed an administrative motion for leave to
                                                                              submit a post-hearing declaration to address certain questions raised by the undersigned during the hearing (Dkt.
                                                                              No. 141). RAC’s motion is GRANTED.

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